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 1
                            UNITED STATES DISTRICT COURT
 2
                                     DISTRICT OF NEVADA
 3

 4
     UNITED STATES OF AMERICA,
 5
            Plaintiff,                                Case No. 2:07-CR-00145-KJD-PAL
 6
     v.                                               ORDER
 7
     KENNETH RUSSELL KRUM,
 8
            Defendant.
 9

10
            Presently before the Court are Defendant’s Motions to Withdraw Motion to Appoint Counsel
11
     (#1489) and Motion to Appoint Counsel (#1488).
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            The Court has reviewed the documents and pleadings on file in this matter and finds that
13
     Defendant’s Motion for an Extension of Time to File a Petition for Panel Rehearing and Rehearing
14
     En Banc and Stay of Mandate was granted by the United States Court of Appeals for the Ninth
15
     Circuit. United States v. Krum, No. 10-10000 (9th Cir. Filed Nov. 16, 2015), CR # 125. As a result
16
     of the pending appellate matter, the Motion to Appoint Counsel (#1488) is premature. The Court
17
     finds good cause to grant the Motion to Withdraw Motion to Appoint Counsel.
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            Accordingly, IT IS HEREBY ORDERED that Defendant’s Motion to Withdraw Motion to
19
     Appoint Counsel (#1489) is GRANTED;
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            IT IS FURTHER ORDERED that Defendant’s Motion to Appoint Counsel (#1488) is
21
     DENIED as moot.
22
                       23rd day of March 2016.
            DATED this _____
23

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25                                               _____________________________
                                                 Kent J. Dawson
26                                               United States District Judge
